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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-0229-RBJ

UNITED STATES OF AMERICA,

                       Plaintiff,

v.

     1. DAVITA INC.,

     2. KENT THIRY,

                       Defendants.


             DEFENDANTS’ UNOPPOSED MOTION FOR ENLARGEMENT


       Defendants respectfully move the Court for an enlargement of six pages for their reply in

support of their motion to dismiss the Indictment. The United States does not oppose this

motion.

       In preparing their joint reply, defendants have endeavored to comply with the Court’s

practice standard that replies not exceed five pages, inclusive of the caption, the signature block,

and the certificate of service. Practice Standards,

http://www.cod.uscourts.gov/Portals/0/Documents/Judges/RBJ/RBJ_Practice_Standards.pdf?ver

=2020-12-08-151330-180. Defendants, however, believe that an additional six pages are needed

to ensure that they can adequately—yet concisely—address the government’s arguments.

                                         CONCLUSION

       The Court should grant defendants a six-page enlargement for their joint reply, for a total

of eleven pages.


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October 29, 2021                                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on October 29, 2021, I filed the above document with the Clerk of the Court

using CM/ECF, which will send electronic notification thereof to all registered counsel.

                                                    /s/ John F. Walsh III
                                                        John F. Walsh III




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